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 1                             UNITED STATES DISTRICT COURT
 2
                              EASTERN DISTRICT OF CALIFORNIA
 3
      UNITED STATES OF AMERICA,               USDC Case No. 07 Cr. 156 LJO
 4
                     Plaintiff/Appellee,      USCA Case No. 17-10278
 5

 6                   v.                       ORDER AUTHORIZING ACQUISITION
                                              OF SEALED RECORDS BY APPELLATE
 7    VICTOR MURRAY,                          COUNSEL; DECLARATION OF
                                              COUNSEL IN SUPPORT
 8                   Defendant/Appellant.
 9
            Based upon the foregoing Motion for Order Authorizing Acquisition of Sealed
10
     Records by Appellate Counsel; Declaration of Counsel in Support, and for good cause
11
     shown, IT IS HEREBY ORDERED that the following documents shall be unsealed for the
12
     limited purpose of providing them to Defendant/Appellant Victor Murray’s counsel of
13

14 record, Jay A. Nelson, and for no other purpose, by the Clerk of the Court:

15          ECF Nos. 226, 227, 228, 231, 232, 303, 304, 305, 306, 307, 332, 333, 334,
            400, 407, 470, 476, and 500.
16

17          IT IS FURTHER ORDERED that the foregoing records shall be unsealed only for

18 the limited purpose of providing them to attorney Jay A. Nelson, and that the records shall
19 remain sealed for all other purposes, including from the public.

20          For those items listed above that are not transcripts, the Clerk of Court shall provide
21
     Mr. Nelson copies. For those items that are transcripts, Counsel shall contact Court Reporter
22
     Peggy Crawford at 559-266-3789 or peggycrawford@gmail.com to obtain copies.
23
     IT IS SO ORDERED.
24

25      Dated:     September 20, 2017                      /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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